         Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 1 of 22




                      UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW HAMPSHIRE


United States of America


    v.                                          Case No. 20-mj-229-AJ


Ryder Winegar


                    ORDER OF DETENTION PENDING TRIAL

     Ryder Winegar (“defendant”) has been charged with Threats

Against Members of Congress, in violation of 18 U.S.C.

§ 115(a)(1)(B).      An investigating officer’s affidavit submitted

with the criminal complaint in this case describes a series of

phoned-in threats to assault or murder specific Members of

Congress, in violation of 18 U.S.C. § 115(a)(1)(B), left on

their office voicemail around 1:00 a.m. on December 16, 2020.

The government moved to detain the defendant on risk of flight

and dangerousness grounds.        The defendant seeks release.

     In accordance with 18 U.S.C. § 3142(f)(1)(A), a detention

hearing was conducted on January 15 and 28, 2021.            For the

reasons explained below, the government’s motion for detention

is granted.


                 Applicability of Section 3142(f)(1)(A)

     Section 3142(f) of the Bail Reform Act, 18 U.S.C. §§ 3141-

3156, “does not authorize a detention hearing whenever the
         Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 2 of 22




government thinks detention would be desirable, but rather

limits such hearings” to the circumstances listed in 18 U.S.C.

§§ 3142(f)(1) and (f)(2).        United States v. Ploof, 851 F.2d 7,

10 (1st Cir. 1988).      In this case, the government asserted that

a detention hearing was warranted under 18 U.S.C.

§ 3142(f)(1)(A), which provides authority for the government to

seek detention where a defendant is charged with a “crime of

violence.”     Winegar has argued, however, that the charged

offense does not qualify as a crime of violence.

     The Bail Reform Act defines a “crime of violence,” in

pertinent part, as “an offense that has as an element of the

offense the . . . threatened use of physical force against the

person or property of another.”         18 U.S.C. § 3156(a)(4)(A).

Defendant is charged with violating 18 U.S.C. § 115(a)(1)(B),

which makes it a crime to

     threaten[] to assault, kidnap, or murder, a United States
     official . . . with intent to impede, intimidate, or
     interfere with such official . . . while engaged in the
     performance of official duties, or with intent to retaliate
     against such official, judge, or law enforcement officer on
     account of the performance of official duties.

The incidents described in the affidavit filed with the criminal

complaint -- specifically, phoned-in threats to kill or assault

Members of Congress -- clearly involve the threatened use of

force.    To determine if the criminal offense has the threatened

use of force as an element, however, the court must consider


                                      2
         Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 3 of 22




whether the statutory elements of the crime categorically

involve the threatened use of violent, physical force, without

reference to the manner in which this defendant is alleged to

have violated the law.       See United States v. Santoro, 359 F.

Supp. 3d 122, 127-28 (D. Me. 2019) (discussing the application

of the so-called “categorical approach” to determine if 18

U.S.C. § 875(c) is a “crime of violence” under the Bail Reform

Act); see also United States v. Taylor, 848 F.3d 476, 491-92

(1st Cir. 2017).

     Each of the pertinent elements of the offense at issue in

this case necessarily implies the threatened use of physical

force. 1   See United States v. Bates, No. 12-cr-082-01-SM, 2012 WL

2343282, at *1, 2012 U.S. Dist. LEXIS 84489, at *2 (D.N.H. June

18, 2012); see also United States v. Kabbaj, Crim. No. 16-365,

2016 WL 11660082, at *11, 2016 U.S. Dist. LEXIS 125226, at *31

(E.D. Pa. Sept. 12, 2016).        This conclusion is consistent with

cases that have found similar threat statutes to be properly

categorized as crimes of violence for the purposes of the Bail

Reform Act or the U.S. Sentencing Guidelines.           See, e.g.,


     1 The court assumes without deciding that the listing of
“threat[s] to assault, kidnap, or murder” in Section 115(a) is
an indivisible description of the means an offender might employ
to commit the crime of threatening a federal official, rather
than a divisible list of alternative elements of separate threat
offenses.



                                      3
         Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 4 of 22




Santoro, 359 F. Supp. 3d at 127-28 & n.13 (communicating a

“threat to injure” another person under 18 U.S.C. § 875(c)

necessarily implied the threatened use of violent, physical

force); see also United States v. Spangle, 617 F. App’x 764, 765

(9th Cir. 2015) (18 U.S.C. § 876(c), making it a crime to mail a

threat to kidnap a person, categorically qualified as “crime of

violence” for purposes of the sentencing guidelines, as there

was no “realistic probability” that a “threat” to kidnap would

not involve a threatened use of physical force).            Accordingly, I

find that the charged offense under § 115(a)(1)(B) is properly

categorized as a “crime of violence” under the Bail Reform Act

and that the detention hearing was authorized under

§ 3142(f)(1)(A). 2

                         Section 3142(g) Factors

I.   Standard and Burdens of Proof

     After the court decides that a detention hearing is

warranted, it must determine whether any condition or

combination of conditions set forth in § 3142(c) will reasonably

assure the appearance of the defendant (“risk of flight”) and

the safety of any other person and the safety of the community



     2 The court need not reach the alternative argument that a
detention hearing was warranted under 18 U.S.C. § 3142(f)(2),
which provides authority for the government to seek detention
where there is “a serious risk that [the defendant] will flee.”


                                      4
       Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 5 of 22




(“dangerousness”).    See 18 U.S.C. § 3142(f); United States v.

Patriarca, 948 F.2d 789, 791 (1st Cir. 1991).         In making this

determination, the court must consider the following: (1) the

nature and circumstances of the offense charged; (2) the weight

of the evidence; (3) the history and characteristics of the

accused, including family ties, past history, financial

resources, and employment; and (4) the nature and seriousness of

the danger to any person or the community that would be posed by

release.    18 U.S.C. § 3142(g).    During the course of a hearing

conducted pursuant to 18 U.S.C. § 3142, the government has the

burden of persuading the court that no condition or combination

of conditions will reasonably assure (1) the defendant’s

presence at trial, United States v. Perez-Franco, 839 F.2d 867,

870 (1st Cir. 1988); or (2) the safety of another or the

community.    Patriarca, 948 F.2d at 793.      The government is

required to prove risk of flight by a preponderance of the

evidence and to establish dangerousness by clear and convincing

evidence.    See id. at 792-93.


II.   Findings and Rulings

      In this case, the government argues that the defendant’s

release poses a risk of flight and danger to the community.

After weighing the evidence and information before the court,

including the pretrial services reports as well as the parties’


                                    5
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 6 of 22




proffers and pleadings, balancing the factors laid out in 18

U.S.C. § 3142(g), and considering the defendant’s lack of

transparency and candor in his interactions with pretrial

services and the court, as well as the inability of his proposed

third-party custodian – his wife, Patricia Winegar – to

adequately supervise the defendant, the court finds that the

government has established that there are no conditions that

will reasonably assure the safety of any other person and the

community.


     A.        Dangerousness

          1.     Nature and circumstances of the offense

     The defendant is charged with crimes that involve threats

of murder and mayhem targeting Members of Congress.         The

charging documents allege that he left a series of seven

voicemails at the offices of six Members of Congress around 1:00

a.m. on December 16, 2020, using a cell phone number registered

in his wife’s name.       Those voicemails contain threatening

language directing the Members of Congress to support a

particular cause or else face violence and death.

Individualized threats based on personal grievances or perceived

injustices may present a danger by inducing fear.         The type of

threat here presents a graver, broader danger -- the charged use

of violent imagery to induce fear and intimidate an elected


                                     6
         Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 7 of 22




official into falling in line behind a cause.           See generally

United States v. Capriotti, No. 21 CR 16, 2021 WL 229660, at *4,

2021 U.S. Dist. LEXIS 12223, at *14 (N.D. Ill. Jan. 22, 2021)

(finding that “the making of the threats themselves represent[s]

a harm to the community”).        The threats at issue here are a

brazen attempt to influence elected officials through fear, by a

person claiming to be part of a group empowered to assault and

kill to effect political ends. 3       Such threats seek to undermine

the rule of law and disrupt the proper functioning of our

government.     This factor weighs in favor of detention.

     In addition to the circumstances related to the charged

offense, there is further information before this court

regarding uncharged conduct that favors detention.            Someone

self-identifying as the defendant sent a similarly-worded email

to a member of the New Hampshire legislature on December 14,

2020.    Cf. United States v. Rivera-Sepulveda, No. 19-695 (RAM),

2020 WL 402277, at *2, 2020 U.S. Dist. LEXIS 14692, at *5

(D.P.R. Jan. 24, 2020) (“The Court may consider uncharged

conduct in assessing the degree of danger posed by the

defendant’s release.” (citing United States v. Rodriguez, 950



     3 The voicemails repeatedly use the word “we” in describing
how the threatened acts of violence will be carried out,
suggesting an association – real or imagined – with a larger
group. See Doc. No. 1-2.


                                      7
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 8 of 22




F.2d 85, 88-89 (2d Cir. 1991)).      Such information taken together

with the charged offenses may manifest either an increasing

level of unrestrained, impulsive, threatening behavior targeting

elected officials at all levels, or a purposeful realignment and

retargeting of threats of political violence over a short period

of time, shifting from a single legislator to multiple Members

of Congress.   Either way, such information shows dangerousness

and favors detention.    See, e.g., United States v. Jeffries, No.

3:10-CR-100, 2010 WL 3619946, at *6, 2010 U.S. Dist. LEXIS

95293, at *16 (E.D. Tenn. Sept. 10, 2010) (considering, as part

of its dangerousness analysis, that the defendant’s “threats

appear to be escalating” and ruling in favor of detention).

     Given the circumstances of this case, the defendant’s

possession of firearms and other dangerous weapons at the time

the threats were made also weighs in favor of detention.          The

court may consider the defendant’s firearms and other weapons,

even if legally possessed, in assessing dangerousness.          See

United States v. Stone, 608 F.3d 939, 953 (6th Cir. 2010)

(defendant’s “substantial” cache of weapons and repeated

statements about killing judges and law enforcement officers

supported a dangerousness finding); United States v. Robinson,

No. 5:14-CR-00809-JMC-1, 2014 WL 7338961, at *7, 2014 U.S. Dist.

LEXIS 176529, at *17-18 (D.S.C. Dec. 22, 2014) (court may



                                   8
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 9 of 22




consider lawfully possessed firearms in assessing

dangerousness).    Federal officers who executed a search warrant

at defendant’s home on December 22, 2020 discovered a

substantial arsenal of weapons and ammunition, including,

specifically, a loaded AR-15 rifle (with light armor-piercing

ammunition), a loaded shotgun, a loaded 9mm pistol, an unloaded

rifle with a scope, several hundreds of rounds of ammunition,

and a body armor vest, with clips and Level IV body armor

plates.    When considered alongside the defendant’s violent

threats against Members of Congress, the presence of those items

in his home is relevant to the court’s assessment of

dangerousness and weighs in favor of detention.

          2.   Weight of the evidence

     The evidence against the defendant includes verbatim

statements of graphic and violent threatening communications,

promising harm or death as retribution for failing to support a

political cause, left on the voicemails of Members of Congress,

with records linking the phone number from which the calls were

made to an account in the name of defendant’s wife.         In at least

two voicemails, Winegar identifies himself by name, and in at

least one, he leaves his phone number.       The strength of the

evidence favors detention.




                                   9
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 10 of 22




       3.    History and characteristics of the defendant

     The feasibility of pretrial release and supervision depends

to a large extent on the defendant’s transparency, reliability,

and capacity to comply with conditions.        Cf. United States v.

Tortora, 922 F.2d 880, 886-87 (1st Cir. 1990) (finding that the

“Achilles’ heel” of the conditions of pretrial release set by

the district court in that case “is that virtually all of them

hinge on the defendant’s good faith compliance”).         Defendant is

a decorated, honorably discharged Navy veteran, with no criminal

record and no reported history of substance abuse, who is the

primary caregiver of two children, ages one and four.          Such

factors can be cited as evidence of trustworthiness and an

ability to carry out directives, favoring release in many cases.

But those factors here are offset and outweighed by this

defendant’s pattern of shading the truth and failing to be

entirely forthright with the court and probation.         The court is

not convinced that the defendant is capable of the requisite

transparency and trustworthiness necessary to ensure adequate

supervision or reasonably assure the safety of the community if

he were to be released.

     The incidents that raise such concerns for the court

include the defendant’s failure to volunteer facts regarding his

previous access to, and his knowledge regarding the fate of,



                                   10
         Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 11 of 22




firearms located in his home at the time he left for Brazil in

late December 2020.       When the probation officer who prepared a

pretrial services report in this case asked the defendant in

January 2021 about the presence of firearms in his home, the

defendant disclosed a pair of compound bows, a pistol, and a

decorative short sword, but made no reference at all to the rest

of the arsenal the officers observed when they executed a search

warrant at his home on December 22, 2020.           During the first day

of the detention hearing, defense counsel explained that the

defendant focused on the question asked and answered it

honestly, as he was then aware that the guns identified during

the search were known to law enforcement and had since been

removed from the house.        A candid response to the probation

officer’s inquiry, however, would have included a statement

regarding all of the weapons and what had happened to them, to

the extent Winegar knew of their fate. 4

     The next circumstance regarding defendant’s tendency to

shade the truth or keep his cards close to his chest relates to

his failure to disclose the prospective sale of his home until

the court inquired about his trip to Brazil at the end of the

first day of the detention hearing.          At that point, he disclosed



     4 The court notes that Ms. Winegar was also less than fully
transparent regarding the firearms with probation.


                                      11
         Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 12 of 22




the existence of a signed purchase and sales agreement for his

current residence.       The lack of openness about his house being

on the market or under contract was particularly striking

because the defendant had proposed that he reside at his home if

he were released pending trial. 5

     The next circumstance raising a concern for the court

relates to the evolving narrative as to whether his trip to

Brazil was open-ended.       In response to the government’s proffer

that defendant’s wife had told the officers executing the search

warrant that she did not know when he planned to return from

Brazil and showed them a credit card record for the ticket

purchase, the defendant initially represented on the first day

of the detention hearing that he had planned to return the

United States on December 28, 2020, but that the issuance of an

arrest warrant had altered that plan. 6         Then, on the second day

of his hearing, he proffered that he had an email demonstrating

that he had booked a return flight for January 18, 2021.

     In addition, the defendant’s explanations for his trip to

Brazil have shifted over time.         The defendant’s wife told law



     5 On the first day of the detention hearing, the defendant
alternatively proposed to reside at his parents’ home upon
release. This plan was not repeated on the second day and
appears to have been withdrawn.

     6   The arrest warrant was issued on December 21, 2020.


                                      12
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 13 of 22




enforcement agents that he had “received some money” and went to

Brazil to look at “investment properties.”        His counsel

explained to the court during the first day of his detention

hearing that his family had a previous “interest in real estate

in Brazil” and had a “potential plan” to “potentially use the

funds from the sale of [their home] to relocate to Brazil.”

During the second day of the two-day hearing, defense counsel

clarified that Winegar and his wife were interested in moving to

Brazil, anticipating that the proceeds from the home sale would

provide the requisite funding.

     The final indicator suggesting a lack of transparency and

trustworthiness concerns a discrepancy between the defendant’s

reporting to pretrial services that he had no history of mental

health issues and the government’s proffer that the defendant

had told a law enforcement officer in 2017 that he had been

diagnosed with PTSD and had been in treatment since 2012.              The

defendant has explained to this court that he had made the

remark to an officer informally, that he has never been

diagnosed with PTSD, and that he has only had one counseling

session in his life.    The court is concerned, however, that the

defendant either reported inaccurate or misleading information

to the law enforcement officer in 2017, or to this court.

Either way, the discrepancy is troubling.



                                   13
        Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 14 of 22




     The court need not make a finding regarding where the truth

lies with respect to any of these incidents.          It is enough for

the court to note that there are several discrepancies and that

the defendant’s narrative shifts, unravels, and reforms over

time.     The pattern appears to go beyond mere factual mistakes or

memory lapses.       Whether calculated, impulsive, or ingrained,

defendant’s lack of transparency and tendency to shade the truth

in his communications with the court and pretrial services is a

factor weighing heavily in favor of detention.

          4.     Nature and seriousness of danger posed by release

     The danger posed by Winegar’s release is significant.               His

threats promise retribution for the failure of Members of

Congress to support certain ends.         The seriousness of the danger

posed is amplified when considered in the context of the

weapons amassed at his home.        Weighing all of the relevant

factors, the court concludes that the government has

demonstrated by clear and convincing evidence that defendant

poses a danger to the community if released.


     B.        Risk of Flight

     The government has also met its burden of showing by a

preponderance of the evidence that Winegar is a flight risk, in

light of the § 3142(g) factors.        His demonstrated willingness to

withhold information supports the court’s flight risk analysis.


                                     14
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 15 of 22




     Defendant has not held a job outside of the home since he

was honorably discharged from the Navy and then completed a

college degree program in 2015-2016.       He reports that he takes

care of his young children while his wife works; he privately

tutors students in languages; and he is the landlord and

property manager of two rental properties in Manchester.           The

court appreciates that taking care of very young children can be

a full-time job.   There is no information before the court,

however, suggesting that defendant’s tutoring and duties as a

landlord require any substantial time commitment.         And the fact

that defendant’s childcare responsibilities are not the type of

employment that can be confirmed by pretrial services through

phone calls to supervisors or co-workers is a factor that favors

detention.

     The defendant’s conduct after receiving notice that

authorities were investigating him bears on risk of flight.            On

December 21, 2020, the day after the U.S. Capitol Police came to

his house to speak with him, the defendant flew to Brazil, where

he remained for several weeks (through the Christmas holiday).

Defendant is fluent in several languages, including Portuguese,

and defense counsel proffered, at the detention hearing, that

the defendant and his wife had considered moving to Brazil.            On

January 11, 2021, Winegar voluntarily surrendered to authorities



                                   15
        Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 16 of 22




upon his arrival at Logan Airport.         A defendant’s self-

surrender, to the extent it manifests “an early decision to not

flee,” can be a factor favoring release.          United States v. Pon,

No. 3:14-cr-75-J-39PDB, 2014 WL 3340584, at *5, 2014 U.S. Dist.

LEXIS 95049, at *16 (M.D. Fla. May 29, 2014).           In this case,

however, the defendant’s self-surrender followed an abrupt trip

to Brazil that he has not adequately explained.           The temporal

proximity between the visit by U.S. Capitol Police on December

20 and Winegar’s departure on December 21, coupled with the

fluid narrative regarding the reasons for the trip to Brazil and

sources of funding he planned to use to purchase property there,

diminishes the weight the self-surrender factor might otherwise

bear in the court’s assessment of risk of flight.

     Moreover, the defendant’s trip to Brazil in late December

2020 demonstrates that he has the ability to purchase a ticket

and travel abroad on short notice (during a pandemic), as well

as the ability to muster the resources and family buy-in to stay

away from his wife and young children for an extended period of

time.   Those factors favor a finding that defendant is a flight

risk.   United States v. Gadson, No. 3:14-CR-094 JD, 2015 WL

163553, at *3, 2015 U.S. Dist. LEXIS 3407, at *9 (N.D. Ind. Jan.

12, 2015) (ordering detention upon information including that

defendant had “shown an ability to quickly (and recently) access



                                     16
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 17 of 22




significant funds for himself, even if by way of credit, which

could be utilized to abscond, and has shown his adeptness at

international travel and ability to book last minute flights to

locations not only outside of this district, but outside of the

country”).

     The charged offense at issue is punishable by a maximum

sentence of ten years in prison.        Defense counsel has argued,

however, that defendant’s lack of any criminal history and other

factors could yield a sentencing range of 10 to 16 months under

the Sentencing Guidelines upon a plea of guilty.         This

relatively low sentencing range reduces the incentive to flee,

making this factor neutral in the court’s detention analysis.

But the factors that favor release, including his personal ties

to the district, property ownership, status as a landlord, and

role as caregiver of his young children, are outweighed by his

stated willingness to sever his ties to the state, uproot his

family, and move with them to Brazil - a plan he took concrete

steps to put into motion as long ago as March 2019, when he

acquired a visa, and as recently as December 2020, when he

travelled to Brazil to look at properties to buy, and in January

2021, when he signed a purchase and sales agreement on his home

(which has since fallen through).        Considering the relevant

factors, the court finds that the government has met its burden



                                   17
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 18 of 22




to show by a preponderance of the evidence that the defendant is

a risk of flight.


     C.   Conditions of release

     The court must determine whether there are any conditions

or a combination of conditions that would assure the safety of

the community and the defendant’s appearance.         Defendant has

proposed staying in his family home with his wife as his third-

party custodian, and he reports that they have taken their house

off the market.   He further proposes putting all three of his

properties up as security for an appearance bond, tendering his

and his wife’s passports, and subjecting himself to location

monitoring and any other restrictions the court may impose,

including a curfew and undergoing a mental health evaluation.

     It appears that the defendant’s proposal is intended to

address the court’s concerns about risk of flight and the

possibility that untreated mental health problems could be

contributing to his behavior, but the court still has serious

doubts about releasing the defendant to his family home, with

his wife serving as third-party custodian.        The defendant was

residing in that home, with his wife and children, when he

allegedly made the phone calls on which the charge is based.

Thus, either Ms. Winegar was aware of the calls and unable to

prevent them, or she was unaware that they were being made.            In


                                   18
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 19 of 22




either case, the circumstances do not support her ability to

supervise Winegar and ensure his compliance with conditions.

Relatedly, Ms. Winegar initially represented to law enforcement

that she did not know when defendant would return from Brazil.

At the detention hearing, however, the defendant represented

that he had purchased or planned to buy a return ticket.           Thus,

Ms. Winegar either knew her husband’s actual plans for his trip

to Brazil or he was able to keep that information from her.

Either way, the facts show that Ms. Winegar is not an adequate

third-party custodian.    Moreover, Ms. Winegar works full-time

outside the home while defendant is at home with his children.

Presumably, this means there would be long stretches of time

during which there would be no other adult in the house to

monitor his activities.     Based on these circumstances, the court

cannot find that Ms. Winegar is a suitable third-party

custodian.

     The defendant has also proposed surrendering his and his

wife’s passports and posting an appearance bond secured by his

three properties.    Tendering passports would reduce the risk of

international travel, and the secured appearance bond he

proposes would take away his ability to use a property sale to

finance flight and resettlement, and potentially disrupt the

financial stability of his young family.        But neither the



                                   19
         Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 20 of 22




forfeiture of passports nor the financial risk associated with

an appearance bond addresses the court’s concerns about

dangerousness.      Tortora, 922 F.2d at 886 n.8 (“Real estate as

security seems a much more effective condition of release in a

‘flight risk’ case than in a ‘dangerousness’ case.”).

     The defendant has also proposed electronic monitoring as a

condition.     Electronic monitoring generally requires access to a

phone.     Particularly given the fact that the charged offense is

based on threatening phone calls made by the defendant using his

wife’s cell phone, and an absence of assurance that defendant

would not resume making similar threats, the inability to

fashion a condition to limit defendant’s access to a phone is a

significant concern for the court.          Thus, practical conditions

of release cannot be fashioned to address this aspect of

dangerousness.      Capriotti, 2021 WL 229660, at *4, 2021 U.S.

Dist. LEXIS 12223, at *14 (absent “reasonable assurance that the

threats themselves will stop upon release,” court declined to

issue release order).

     Furthermore, electronic monitoring is “less effective in

‘dangerousness’ cases than in ‘flight risk’ cases.”             United

States v. Martinez-Torres, 181 F.3d 81, 1998 WL 1085669, at *2,

1998 U.S. App. LEXIS 23293, at *6 (1st Cir. 1998) (unpublished

table decision) (citation omitted).          While location monitoring



                                      20
      Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 21 of 22




will alert probation if the defendant were to leave his home, it

“provides little useful information about what [a defendant] is

doing.”    United States v. Martin, 447 F. Supp. 3d 399, 403 (D.

Md. 2020).    In this case, dangerousness is at issue, and

location monitoring fails to assuage the court’s concerns.             The

court’s concern in this regard is compounded by its finding that

defendant has not been transparent in his dealings with the

court and probation.


                               Conclusion

     For these reasons, the court finds that the government met

its burden of proving by clear and convincing evidence that

there are no conditions or combination of conditions of release

that will reasonably assure the safety of the community.

Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

correctional facility, to be held separately, to the extent

practicable, from persons awaiting or serving sentences or being

held in custody pending appeal.      The defendant shall be afforded

a reasonable opportunity for private consultation with defense

counsel.    On order of a court of the United States or on request

of an attorney for the government, the person in charge of the


                                   21
        Case 1:20-mj-00229-AJ Document 13 Filed 02/04/21 Page 22 of 22




correctional facility shall deliver the defendant to the United

States Marshal for the purpose of appearing in connection with

court proceedings.

      SO ORDERED.

                                    _____________________
                                    Andrea K. Johnstone
                                    United States Magistrate Judge

Date:   February 4, 2021


cc:     Charles J. Keefe, Esq.
        Charles L. Rombeau, Esq.
        U.S. Probation
        U.S. Marshal




                                     22
